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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NEW YORK


   UNITED STATES OF AMERICA              )
                                         )
         v.                              )   No. 1:21-cr-00371(BMC)(TAM)
                                         )   Hon. Brian M. Cogan
   MATTHEW GRIMES                        )


          MR. GRIMES’ REPLY BRIEF IN SUPPORT OF HIS MOTION FOR
     RECONSIDERATION OF HIS MOTION TO DISMISS THE INDICTMENT FOR
     FAILURE TO CHARGE CRIMINAL INTENT PURSUANT TO RUAN V. UNITED
                         STATES (U.S. JUNE 27, 2022)




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                                           INTRODUCTION

         The government is right that Ruan v. United States, 142 S. Ct. 2370, 2022 WL 2295024

  (2022) (Dkt. 122-1 (Ex. A, Ruan slip opinion)), “addressed a different statute in a different

  context” (Dkt. 125 at 1), but the government’s obvious point glosses over the fact that Ruan

  addressed how courts should construe criminal statutes “as a general matter,” Ruan, Slip op. at 5.

  And while the government also is right that Ruan applied “ordinary and longstanding scienter

  requirements,” the government is wrong that the decision did not “constitute a change in

  controlling law.” (Dkt. 125 at 3 (quoting Ruan, slip op. at 5), 5.) Ruan, with its consolidated

  companion case Kahn v. United States, reversed decisions by the Tenth and Eleventh Circuits, and

  more importantly, it rejected the approach to statutory interpretation that all courts have followed

  in construing Section 951 to allow conviction without the government proving consciousness of

  wrongdoing. The government invites reversible error by asking this Court to ignore the Supreme

  Court’s most recent guidance on how to construe criminal statutes and especially one as unique as

  Section 951.

                                              ARGUMENT

  I.     RUAN CLARIFIED THAT THE PRESUMED LEVEL OF INTENT REQUIRED
         MUST BE SUFFICIENT TO ESTABLISH CONSCIOUSNESS OF WRONGDOING

         The government acknowledges “Ruan’s statement that courts are to ‘read into criminal

  statutes that are silent on the required mental state . . . that mens rea which is necessary to separate

  wrongful conduct from otherwise innocent conduct,’” but it erroneously concludes that

  requirement can be met without requiring specific intent. (Id. at 5 (quoting Ruan, slip op. at 5).)

  To be sure, the Supreme Court repeatedly stated that the presumption of scienter must reflect “a

  vicious will,” “that wrongdoing must be conscious to the criminal,” demonstrate “consciousness

  of wrongdoing,” sufficiently prove “that mens rea which is necessary to separate wrongful conduct

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  from ‘otherwise innocent conduct,’” and accordingly requires knowledge of any “statutory clause

  [that] plays a critical role in separating a defendant’s wrongful from innocent conduct.” Ruan, slip

  op. at 5, 9 (cleaned up). Additionally, Ruan noted that “severe penalties counsel in favor of a

  strong scienter requirement,” pointing to cases involving the same ten-year sentences as Section

  951. Id. at 7 (emphasis added). Given the Supreme Court’s repeated and heavy emphasis on the

  need for a strong scienter requirement that separates innocence from consciousness of wrongdoing,

  there can be no basis for stripping Section 951 of such a provision as the government insists.

         Again, Ruan reflects the opposite approach of the courts that have construed Section 951

  as dispensing with any requirement that there be consciousness of wrongdoing. As Mr. Grimes

  explained in his motion, the Eleventh Circuit concluded that statutory silence on the issue of

  specific intent meant that general intent is sufficient. (Dkt. 122 at 2 (citing United States v. Campa,

  529 F.3d 980, 999 (11th Cir. 2008); United States v. Duran, 596 F.3d 1283, 1291 (11th Cir.

  2010)).) By contrast, Ruan explained: “Applying the presumption of scienter, we have read into

  criminal statutes that are ‘silent on the required mental state’—meaning statutes that contain no

  mens rea provision whatsoever—‘that mens rea which is necessary to separate wrongful conduct

  from ‘otherwise innocent conduct.’” Slip op. at 5 (internal citations omitted). 1 Thus, general

  intent is not sufficient where that does not convey a consciousness of wrongdoing.




  1
   The government continues to misstate the significance of United States v. Dumeisi, 424 F.3d 566,
  581 (7th Cir. 2005), which concluded in a single sentence that specific intent is not required. Mr.
  Grimes does not pretend that the Seventh Circuit said otherwise. (Dkt. 125 at 3 n.1.) Rather, he
  points out that this statement was dicta because the defendant “did not make this argument at trial,
  and the instruction given by the district court [was given] without objection,” so the issue had been
  waived and was reviewable, if at all, on plain error. 424 F.3d at 581. However the government
  chooses to characterize Dumeisi, it unquestionably is a non-binding out-of-circuit opinion, and a
  conclusory single sentence of that opinion does not supply compelling legal reasoning worth
  following (Dkt. 122 at 3 n.1), especially given Ruan’s language to the contrary.
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         The touchstone here is whether the intent requirement establishes consciousness of

  wrongdoing, separating conduct that a defendant would know is wrongful from innocent conduct.

  Of course, the government is right that the Supreme Court has found that this standard can be met

  in different ways, depending on the statute. People who commit a malum in se offense, such as

  murder, for example, would have consciousness of wrongdoing under a general intent to kill

  standard, regardless of whether they have the specific intent of knowing that murder is a crime.

         The government attempts to equate a violation of Section 951 with a malum in se crime,

  like murder, hoping to demonstrate that proof of general intent is sufficient. That analogy breaks

  down the second it is made. Unlike the inherent consciousness of wrongdoing associated with

  “thou shall not kill,” the prohibition against acting as an agent of a foreign government without

  prior notice to the Attorney General is as different as two prohibitions can be. Murder is inherently

  wrong and, by contrast, acting as an agent of a foreign government is typically perfectly lawful.

         The government’s analysis first gets tripped up on linguistics in debating whether Ruan

  requires specific intent, but the holding of Ruan is clearly applicable whether it is characterized as

  a specific intent requirement or not. Ruan’s actual holding is not debatable, “the Government must

  prove beyond a reasonable doubt that the defendant knowingly or intentionally acted in an

  unauthorized manner,” and plainly proving defendants know their conduct is unauthorized would

  establish consciousness of wrongdoing. Slip op. at 15–16.

         The government seems to read Ruan as not requiring knowledge that a defendant’s conduct

  is illegal (specific intent), only unauthorized, but that seems to ignore that this authorization is

  determined by the statute. 21 U.S.C. § 841(a) (“Except as authorized by this subchapter….”).

  Thus, Ruan requires that a defendant know their conduct is not authorized by a statue, and it is

  therefore a specific intent crime. But form here matters less than substance in any event, and Ruan



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  quite plainly requires proof of consciousness of wrongdoing. 2 The government’s construction of

  Section 951 as a general intent statute does not do that.

         The government then makes the astounding argument that “Section 951’s requirement that

  a defendant know that he did not provide notification to the Attorney General is sufficient to

  separate wrongful from innocent conduct” because “Congress has determined that it is wrong.”

  (Dkt. 125 at 5.) There is no dispute that Congress can identify something as wrongful by

  prohibiting it; rather, the issue here is whether a defendant has consciousness of wrongdoing.

  Congress declaring something illegal does not make everyone conscious that it is now wrongful.

  Indeed, Ruan and the numerous cases like it would have resulted in the affirmances of convictions,

  rather than the reversals, if Congress declaring something a crime were sufficient to demonstrate

  that a defendant knew his conduct was wrongful.

         A defendant who has acted as an agent of a foreign government or done so knowing he has

  not provided notice to the Attorney General has no consciousness of wrongdoing, unless he knew

  that providing such notice is required. This is not a malum in se offense, like murder, where such

  conduct is inherently wrongful. These are obscure statutes that are not commonly known, which

  is why knowledge of such an offense is typically explicitly required. See 22 U.S.C. § 618(a)(1)



  2
    The issue that divided the Ruan majority and concurrence was whether this exception under
  Section 841 should be treated more as an element, as the majority believed, or as an affirmative
  defense, as the concurrence believed. Importantly, the Court was unanimous that the convictions
  had to be reversed with the concurrence agreeing there had to be a “subjective good faith” defense.
  Slip op. at 13 (Alito, J., concurring). Thus, all Justices agreed the defendant should be given some
  opportunity to demonstrate innocent intent—something the government would deny Mr. Barrack
  and Mr. Grimes here.

  The government also suggests that Ruan’s burden-shifting approach for a statutory exception may
  apply to Section 951 somehow (like the exception for doctors in Ruan), but there is no exception
  clause being modified by an intent requirement in Section 951. Rather, defendants argue that the
  government must show in all cases that the defendant knew of a duty to provide prior notice to the
  Attorney General because their conduct would make them agents of a foreign government.
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  (imposing criminal violations under the Foreign Agents Registration Act, but only when violated

  “willfully”). Ruan makes clear this Court should do the same in the face of statutory language that

  is “silent on the mental state,” as is the case with Section 951. Slip op. at 5.

  II.    THE GOVERNMENT MISAPPLIES THE “IGNORANCE OF THE LAW IS NO
         EXCUSE” MAXIM

         The government struggles in squaring Ruan’s presumption of consciousness of

  wrongdoing with “the traditional rule that ignorance of the law is not a defense” (Dkt. 125 at 4),

  but the Supreme Court has repeatedly highlighted the difference. The “ignorance of the law”

  maxim is a common-law maxim that originated when there were just a handful of offenses,

  involving malum in se crimes that everyone was presumed to know were unlawful. Modern courts

  find that “[a]lthough the general rule is that ‘ignorance of the law or a mistake of law is no defense

  to criminal prosecution,’ the modern proliferation of statutes and regulations ‘sometimes ma[kes]

  it difficult for the average citizen to know and comprehend the extent of the duties and obligations

  imposed by the ... laws.’” United States v. Liu, 731 F.3d 982, 989 (9th Cir. 2013) (quoting Cheek

  v. United States, 498 U.S. 192, 199–200 (1991)). Accordingly, the Supreme Court remains

  mindful of the “ignorance of the law” maxim, but explains, “[o]n the other hand, due process

  places some limits on its exercise. Engrained in our concept of due process is the requirement of

  notice.” Lambert v. California, 355 U.S. 225, 228–29 (1957). In reconciling these principles, the

  Supreme Court explained that it will construe statutes to require fair warning and impose a clear

  statement rule on Congress if it wants “ignorance of the law” to apply. Ratzlaf v. United States,

  510 U.S. 135, 148 (1994). At times, the Court denigrates the maxim, explaining that it will

  construe the scienter requirements of a statute broadly “despite the legal cliché ‘ignorance of the

  law is no excuse.’” Flores-Figueroa v. United States, 556 U.S. 646, 652 (2009); see Bryan v.

  United States, 524 U.S. 184, 194–95 (1998) (treating “highly technical statutes that presented the

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  danger of ensnaring individuals engaged in apparently innocent conduct” as requiring the Court to

  “carv[e] out an exception to the traditional rule” that “ignorance of the law is no excuse and require

  that the defendant have knowledge of the law”). Consciousness of wrongdoing should be

  presumed in Section 951 for the same reasons.

         The maxim also is inapplicable here when the status element of an offense, here acting as

  an “agent of a foreign government” who has not given prior notice to the Attorney General, is not

  inherently wrongful. The Supreme Court rejected a similar argument that the government makes

  here in Rehaif, which concerned the crime of possession of a firearm by an alien illegally in the

  United States. As the Court explained:

         The Government also argues that whether an alien is “illegally or unlawfully in the
         United States” is a question of law, not fact, and thus appeals to the well-known
         maxim that “ignorance of the law” (or a “mistake of law”) is no excuse. This
         maxim, however, normally applies where a defendant has the requisite mental state
         in respect to the elements of the crime but claims to be “unaware of the existence
         of a statute proscribing his conduct.” In contrast, the maxim does not normally
         apply where a defendant “has a mistaken impression concerning the legal effect of
         some collateral matter and that mistake results in his misunderstanding the full
         significance of his conduct,” thereby negating an element of the offense. Much of
         the confusion surrounding the ignorance-of-the-law maxim stems from “the failure
         to distinguish [these] two quite different situations.”

         We applied this distinction in Liparota, where we considered a statute that imposed
         criminal liability on “whoever knowingly uses, transfers, acquires, alters, or
         possesses” food stamps “in any manner not authorized by the statute or the
         regulations.” We held that the statute required scienter not only in respect to the
         defendant’s use of food stamps, but also in respect to whether the food stamps were
         used in a “manner not authorized by the statute or regulations.” We therefore
         required the Government to prove that the defendant knew that his use of food
         stamps was unlawful—even though that was a question of law.

         This case is similar. The defendant’s status as an alien “illegally or unlawfully in
         the United States” refers to a legal matter, but this legal matter is what the
         commentators refer to as a “collateral” question of law. A defendant who does not
         know that he is an alien “illegally or unlawfully in the United States” does not have
         the guilty state of mind that the statute’s language and purposes require.




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  Rehaif v. United States, 139 S. Ct. 2191, 2198 (2019) (citations omitted); see also Elonis v. United

  States, 575 U.S. 723, 735 (2015) (explaining that while “‘ignorance of the law’ is no excuse,” the

  Court requires knowledge sufficient to establish a culpable state of mind and adding that the Court

  has rejected statutory interpretations that, for example, “would have criminalized ‘a broad range

  of apparently innocent conduct’ and swept in individuals who had no knowledge of the facts that

  made their conduct blameworthy”) (citing Liparota v. United States, 471 U.S. 419, 426 (1985)).

         The juxtaposition of Rehaif and Liparota is informative as to Section 951. In Rehaif,

  proving a defendant knew he was an alien in the United States illegally was sufficient to show

  consciousness of wrongdoing because that conduct was in and of itself illegal. In Liparota, it

  would not be sufficient to show someone’s status as a food stamp user to establish consciousness

  of wrongdoing; rather, the person would need to know that a particular use of the food stamps was

  illegal. As in Rehaif, where a defendant had to know they were an unlawful alien, a defendant

  under Section 951 would need to know that they were acting unlawfully as an agent of a foreign

  government. Being an “agent of a foreign government” is not unlawful unless no prior notice to

  the Attorney General is given, so no one would know of their status as an unlawful agent unless

  they were aware of the duty to give notice. Similarly, as in Liparota, being an agent of a foreign

  government is not necessarily any more illegal than using food stamps, so knowledge that you are

  doing an otherwise lawful activity in a wrongful manner is required. Absent such consciousness

  of wrongdoing, Ruan is not satisfied.

                                           CONCLUSION

         The Court should dismiss the Superseding Indictment for failure to allege that Mr. Grimes

  committed an act that he knew was a crime.


  Dated: July 14, 2022                          Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

          I certify that on July 14, 2022, a copy of the foregoing was filed with the Court’s electronic

   case filing system, thereby effecting service on counsel for all parties.

                                          /s/ Abbe David Lowell
                                          Abbe David Lowell




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